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                            Exhibit 15
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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division




            ---------------------------------:
                                             :
            BMG RIGHTS MANAGEMENT (US) LLC, :
            et al.,                          :
                           Plaintiffs,       :
                                             : Case No. 1:14-cv-1611
                 vs.                         :
                                             :
                                             :
            COX ENTERPRISES, INC., et al.,   :
                           Defendants.       :
            ---------------------------------:




                                       HEARING ON MOTIONS


                                        October 30, 2015


                             Before:    Liam O'Grady, USDC Judge




            APPEARANCES:

            Jeffrey M. Theodore, William G. Pecau, Walter D. Kelley, Jr.,
            John M. Caracappa, Michael J. Allan, Jeremy D. Engle, and
            Stephanie L. Roberts, Counsel for the Plaintiffs

            Andrew P. Bridges, Brian D. Buckley, Guinevere Jobson, and
            Craig C. Reilly, Counsel for the Defendants




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       1                And there are multiple cases, Your Honor, holding

       2    that a repeat infringement policy is not adequate as a matter

       3    of law where it is undisputed that, as it realistically is

       4    here, there is not a genuine dispute that Cox has failed to

       5    terminate known repeat infringers.          And when it fails to do

       6    that, it takes itself out of the safe harbor.

       7                As the ALS Scan case out of the Fourth Circuit said,

       8    the safe harbor is for innocent, innocent service providers.

       9    And that innocence disappears when you learn of infringement

      10    and you do nothing.

      11                That's what we have here.        Cox knew of infringement.

      12    It did nothing.     That as a matter of law takes it outside of

      13    the DMCA safe harbor.

      14                THE COURT:    Okay.    Thank you.

      15                Mr. Bridges.

      16                MR. BRIDGES:     Thank you, Your Honor.            Evidence of

      17    actual terminations, I would point the Court to Linda Trickey's

      18    declaration on the summary judgment motion, paragraph 17.                       The

      19    Beck declaration opposing the plaintiffs' motion, Exhibit A.

      20    Even Exhibit 55 of Mr. Theodore's declaration.

      21                I actually commend to the Court, and they have picked

      22    what they have found to be -- they think to be the most

      23    inflammatory e-mails, it's actually worthwhile reading the full

      24    e-mails and seeing the discussions that are going on.

      25                There is a reluctance to terminate.              There is an




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       1    effort to work with people.       It's, let's try to get them to

       2    shape up.    And there is an effort.        And there is evidence that

       3    people do shape up.      And that is why Cox works so hard with

       4    them.

       5                Your Honor asked about other ISPs.              And actually

       6    that's one of the things we use the Rosenblatt declaration

       7    about.

       8                THE COURT:    Yeah, but he doesn't know.              He's familiar

       9    with the policies, and he thinks this and he thinks that, but

      10    you need third-party people who are working at those entities

      11    to have personal information.        And he doesn't have the personal

      12    information.

      13                MR. BRIDGES:     But he did draw upon the published

      14    statements --

      15                THE COURT:    Yeah.

      16                MR. BRIDGES:     AT&T, Your Honor --

      17                THE COURT:    Well, if you drew upon the public

      18    statements that Cox made, you would think that they had a

      19    wonderful policy and that they had a very structured review of

      20    when terminations would occur.        And the numbers belie that.                  So

      21    that's why it's of marginal use.

      22                MR. BRIDGES:     So there is I think some other

      23    information.    We do know that AT&T -- I am pretty sure, AT&T

      24    actually requires an adjudication.

      25                Verizon didn't terminate anybody, I believe, until




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       1    2012.   One of their e-mails that they tried to use against Cox

       2    because it has a chimp on it, chimp number 6, it's discussing a

       3    news article that says that Verizon has started terminating

       4    people.    And the evidence is that Cox has been terminating

       5    people I think since at least 2004, if not earlier.                   There was

       6    a tip in the numbers, but there are real terminations.

       7                THE COURT:    So that would be evidence if it's in the

       8    record that you could present to a jury as to whether your

       9    program was reasonable.

      10                MR. BRIDGES:     That's correct, Your Honor.              One thing

      11    though that I think is useful in looking at Rightscorp's

      12    arguments here and its notices -- it's not an obligation.                       It

      13    is a condition of the safe harbor, is to adopt, notify users

      14    of, and reasonably implement a policy for the termination of

      15    account holders and subscribers who are repeat infringers.

      16                Now, I can't remember if it was Mr. Pecau or somebody

      17    on the other side earlier said the law makes no difference

      18    between subscribers and users.        It absolutely does make a

      19    difference in the text of section 512(i).             It doesn't say:

      20    Terminate subscribers where their accounts have been misused.

      21    It said:    Terminate subscribers or account holders who are

      22    repeat infringers.

      23                Now, the big question, and this is part of the

      24    uncertainty that the Court has pointed to in the law, elsewhere

      25    in section 512 there are references to claims of infringement.




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